Case: 3:17-cv-00099-GFVT Doc #: 13 Filed: 04/24/18 Page: 1 of 2 - Page ID#: 102



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    FRANKFORT

 UNITED STATES OF AMERICA,                      )
                                                )
        Plaintiff,                              )        Civil No. 3:17-CV-00099-GFVT
                                                )
 V.                                             )
                                                )
 RALPH T. STUCKER, et al.,                      )                    ORDER
                                                )
        Defendants.                             )


                                      *** *** *** ***
       This matter is before the Court on the Motion to Accept the Warning Order Attorney

Report and Award Fees filed by Patrick F. Nash. [R. 11.] Mr. Nash was appointed by Order of

this Court as warning order attorney on March 2, 2018, for Defendant Unknown Spouse of Ralph

T. Stucker. [R. 8.] Accordingly, Mr. Nash has made a diligent attempt to notify Unknown

Spouse of Ralph T. Stucker of the pendency of this action. No objections or responses have been

filed and the time for doing so has elapsed. See LR 7.1(c). Accordingly, and the Court being

sufficiently advised, it is hereby ORDERED as follows:

       1.      The Motion for Attorney’s Fees [R. 11] and the Report of Warning Order

Attorney are ACCEPTED;

       2.      The Court finds that the rights of the Defendant Unknown Spouse of Ralph T.

Stucker have been adequately protected;

       3.      In accordance with the Court’s Standing Order, Mr. Nash is awarded a fee of

$200.00 plus expenses in the amount of $24.75 for investigative reports and postage. Such fees




                                               1
Case: 3:17-cv-00099-GFVT Doc #: 13 Filed: 04/24/18 Page: 2 of 2 - Page ID#: 103



and expenses shall be taxed as costs and paid by the United States of America pursuant to this

Court’s Order; and

       4.      Patrick F. Nash is hereby discharged from further service as Warning Order

Attorney herein.

       This the 24th day of April, 2018.




                                                2
